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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
       UNITED STATES OF AMERICA,
 8                            Plaintiff,
                                                        CR18-16 TSZ
 9         v.
                                                        MINUTE ORDER
10     CLYDE McKNIGHT,
11                            Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
          (1)    The deferred portion of defendant’s motions in limine, docket no. 600, is
14
   GRANTED. The Government shall disclose Jencks Act and Giglio materials at least two
   weeks prior to trial, and it shall comply with its continuing obligation to provide Brady
15
   materials.
16          (2)     The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
17
            Dated this 17th day of September, 2020.
18

19                                                     William M. McCool
                                                       Clerk
20
                                                       s/Karen Dews
21                                                     Deputy Clerk

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     MINUTE ORDER - 1
